940 F.2d 654Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Harry Joseph WINTER, Defendant-Appellant.
    No. 91-6035.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 5, 1991.Decided July 30, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph H. Young, Senior District Judge.  (CR-83-96-Y;  CA-90-2068-Y)
      Harry Joseph Winter, appellant pro se.
      Lisa M. Griffin, Office of the United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before MURNAGHAN and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Harry Joseph Winter appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Winter, CR-83-96-Y;  CA-90-2068-Y (D.Md. Mar. 14, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    